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                           EXHIBIT 1
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1                           DECLARATION OF BRIAN FAERSTEIN

2          I, Brian Faerstein, declare and state as follows:

3          1.    I am an Assistant United States Attorney at the U.S.

4    Attorney’s Office for the Central District of California and am

5    counsel of record for the government in the prosecution of United

6    States v. Travis Schlotterbeck and James Bradley Vlha, No. CR 19-

7    00343-GW.

8          2.    The government made its initial production of discovery to

9    defendants Travis Schlotterbeck and James Bradley Vlha on August 16,
10   2019, and produced the substantial core of discovery – including
11   agent reports, audio/video recordings and draft transcripts, digital
12   device evidence, and photographic and documentary evidence – by
13   January 13, 2020.     The government has made supplemental productions
14   thereafter, including pretrial confidential informant related
15   disclosures and supplemental Jencks materials, among other things.
16         3.    In or around September 2021, defense counsel informed me
17   that they were encountering a funding issue with a previously-
18   appointed defense expert.       As of that time, the government had

19   already undertaken substantial trial preparations and had arranged

20   for all of its witnesses to be available for the trial scheduled to

21   commence on November 9, 2021.       The government offered a one-month

22   trial continuance to December 2021 to accommodate the defense’s

23   stated need for time with a newly-appointed expert, which the defense

24   did not accept.

25         4.    Since early April 2022, the parties in this proceeding have

26   been meeting and conferring on a number of issues in advance of

27   trial, including a proposed trial indictment, stipulations of fact,

28   stipulations regarding exhibits, proposed jury instructions, proposed
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1    verdict form, and other issues relating to trial.           Among other

2    things, the parties jointly filed their positions on a disputed jury

3    instruction, which the government and defendant Schlotterbeck’s prior

4    counsel (on behalf of both defendants) litigated, and the government

5    made modifications to a proposed set of stipulations of fact

6    accounting for requests by both prior counsel to defendant

7    Schlotterbeck and counsel to defendant Vlha.

8          5.    The parties exchanged expert disclosures on April 22, 2022,

9    mutually agreeing to a one-week extension of the April 15, 2022
10   deadline in the Court’s pretrial scheduling order entered October 13,
11   2021.
12         6.    To date, the government has disclosed a substantial number
13   of its proposed trial exhibits to the defense, including over one
14   hundred clips of audio and video recordings it may offer and a series
15   of summary exhibits it has prepared from digital evidence.
16         7.    On May 18, 2022, following the May 12, 2022 status
17   conference and the Court’s continuance of trial to June 7, 2022, the
18   government sent counsel to both defendants (including new counsel to

19   defendant Schlotterbeck) a proposed joint trial exhibit list, joint

20   witness list, and joint statement of the case.

21         8.    On May 16, 2022, AUSA Dan Boyle and I received an email

22   from Edward Robinson, the then-proposed new counsel to defendant

23   Schlotterbeck, indicating he had been retained by defendant

24   Schlotterbeck in this case.

25         9.    On May 17 and 18, 2022, following the Court’s entry of Mr.

26   Robinson’s substitution of counsel, AUSA Boyle and I met and

27   conferred with Mr. Robinson and Jerome Haig (counsel to defendant

28   Vlha) to discuss Mr. Robinson’s request for a continuance to prepare

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1    for trial.    We explained to Mr. Robinson that, based on the history

2    and status of the case, as well as the extensive pretrial disclosures

3    and filings the government already has provided, the government would

4    agree to a continuance of trial of approximately 30 days, from June 7

5    to July 12, 2022, which would afford Mr. Robinson a total of eight

6    weeks to prepare for trial as of the date of his substitution,

7    representing five additional weeks from the current trial date.

8    During these negotiations, Mr. Haig informed all counsel of his

9    travel planned for June 24 through July 7, and to accommodate this
10   trip, the government agreed to one additional week’s continuance, to
11   July 19, 2022 – to which both defense counsel tentatively agreed.
12   The government also agreed to propose a stipulated pretrial briefing
13   schedule and proposed pretrial hearing date prior to Mr. Haig’s trip
14   to accommodate his travel.
15         10.   Following this preliminary agreement with defense counsel,
16   however, AUSA Boyle and I came to learn from colleagues within the
17   U.S. Attorney’s Office that the Court has another trial scheduled for
18   July 19, 2022 that may be going forward and lasting several weeks,

19   potentially well into August.       After relaying this information to

20   defense counsel, they ultimately proposed a trial date of September

21   27, 2022, but we informed defense counsel that the government would

22   not stipulate to a continuance into September, as this would be yet

23   another extensive continuance in this case and another four months

24   from the previously agreed-upon date of May 24, 2022.

25         11.   The government has confirmed that certain of its expected

26   trial witnesses will be unavailable at various points in August and

27   September 2022.

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1          12.   The government already has provided defendant

2    Schlotterbeck’s new counsel (Mr. Robinson) a complete copy of the

3    previously-produced discovery, in an abundance of caution and to

4    assist in his preparation.

5          I declare under penalty of perjury under the laws of the United

6    States of America that the foregoing is true and correct and that

7    this declaration is executed at Los Angeles, California, on May 20,

8    2022.

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                                                 BRIAN FAERSTEIN
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